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                                                              5
                                                                  Attorneys for Plaintiffs St. Paul Fire and Marine
                                                              6   Insurance Company; Great American Insurance
                                                                  Company of New York and Sunderland Marine
                                                              7   Mutual Insurance Co. Ltd.

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                                                             10                         IN THE UNITED STATES DISTRICT COURT

                                                                                    FOR THE DISTRICT OF ALASKA AT ANCHORAGE
FARLEY & GRAVES, P. C.




                                                             11
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                                                             12
                                                                  ST. PAUL FIRE AND MARINE INSURANCE
                                                             13   COMPANY, a corporation; GREAT
                                                                  AMERICAN INSURANCE COMPANY OF
                                                             14   NEW YORK, a corporation; and SUNDERLAND
                                                                  MARINE MUTUAL INSURANCE CO., LTD, a
                                                             15   corporation,

                                                             16                                 Plaintiffs,
                                                                                                                       Case No. 3:14-cv-_________ (____)
                                                             17                          v.

                                                             18   BRETT L. CLAGGETT, an individual and
                                                                  RENEE T. CLAGGETT, an individual and THE
                                                             19   ESTATE OF CHARLES O. NELSON,

                                                             20                                 Defendants.

                                                             21
                                                                                    COMPLAINT FOR DECLARATORY RELIEF AS TO
                                                             22                          INSURANCE POLICY COVERAGE

                                                             23

                                                                  COMPLAINT FOR DECLARATORY RELIEF AS TO INSURANCE    Page 1 of 8                          /k
                                                                  POLICY COVERAGE
                                                                  ST. PAUL FIRE & MARINE, ET AL V. CLAGGETT, ET AL.
                                                                  CASE NO. 3:14-cv-_________ (____)

                                                                  31559
                                                                    Casepb070204
                                                                           5:14-cv-00001-SLG      Document 1 Filed 02/07/14 Page 1 of 8
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                                                                          Come now Plaintiffs ST. PAUL FIRE AND MARINE INSURANCE COMPANY,
                                                              3
                                                                  GREAT AMERICAN INSURANCE COMPANY OF NEW YORK, SUNDERLAND
                                                              4
                                                                  MARINE MUTUAL INSURANCE CO. LTD, (hereinafter collectively referred to as Plaintiffs
                                                              5
                                                                  or Underwriters), alleging the following claims for relief against Defendants BRETT L.
                                                              6   CLAGGETT, RENEE T. CLAGGETT and The ESTATE OF CHARLES O. NELSON.

                                                              7                                           JURISDICTION

                                                              8           1.      This dispute involves a marine insurance policy covering a vessel in navigable
                                                                  waterways, and this Court has original admiralty jurisdiction pursuant to FRCP Rule 9(h) and
                                                              9
                                                                  28 U.S.C. § 1333. This Court also has diversity jurisdiction under 28 U.S.C. §1332. This
                                                             10
                                                                  Court also has jurisdiction under the Declaratory Judgment Act, 28 U.S.C. § 2201. Each of
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                                                             11
                                                                  these statutes provides a separate and independent basis for this Court’s subject matter
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                                                             12   jurisdiction.
                                                             13                                                  VENUE

                                                             14           2.      Venue is proper in the District of Alaska because the Defendants reside within

                                                             15   that district, and the underlying incident, as well as the alleged breaches of policy warranties or
                                                                  conditions took place within the district.
                                                             16
                                                                                                   GENERAL ALLEGATIONS
                                                             17
                                                                          3.      Plaintiff ST. PAUL FIRE AND MARINE INSURANCE COMPANY (“ST.
                                                             18
                                                                  PAUL”) is now, and at all times herein material was, a corporation duly organized and existing
                                                             19   according to law, which is incorporated in Connecticut and authorized to do business in Alaska.
                                                             20           4.      Plaintiff GREAT AMERICAN INSURANCE COMPANY OF NEW YORK

                                                             21   (“GAIC”) is now, and at all times herein material was, a corporation duly organized and
                                                                  existing according to law, which is domiciled in the State of New York and authorized to do
                                                             22
                                                                  business in Alaska.
                                                             23

                                                                  COMPLAINT FOR DECLARATORY RELIEF AS TO INSURANCE     Page 2 of 8                                 /k
                                                                  POLICY COVERAGE
                                                                  ST. PAUL FIRE & MARINE, ET AL V. CLAGGETT, ET AL.
                                                                  CASE NO. 3:14-cv-_________ (____)

                                                                  31559
                                                                    Casepb070204
                                                                           5:14-cv-00001-SLG       Document 1 Filed 02/07/14 Page 2 of 8
                                                              1

                                                              2
                                                                         5.      Plaintiff SUNDERLAND MARINE MUTUAL INSURANCE CO. LTD
                                                              3
                                                                  (“SUNDERLAND”) is now, and at all times herein material was, a corporation duly organized
                                                              4
                                                                  and existing according to law, which is incorporated in the United Kingdon and authorized to
                                                              5
                                                                  do business in Alaska.
                                                              6          6.      Defendants BRETT L. CLAGGETT and RENEE T. CLAGGETT (hereinafter

                                                              7   collectively “Claggett Defendants” or “Insureds”) are now and at all times herein material were

                                                              8   individuals residing in Alaska.
                                                                         7.      The ESTATE OF CHARLES O. NELSON II relates to a decedent who formerly
                                                              9
                                                                  resided in Alaska and whose ESTATE is being administered within the State of Alaska. The
                                                             10
                                                                  ESTATE is represented by Charles O. Nelson I, who on information and belief also resides in
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                                                             11
                                                                  the State of Alaska.
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                                                             12          8.      Plaintiffs allege that at all times herein material, the Claggett Defendants owned
                                                             13   the vessel “ISLAND DANCER,” a fishing/tendering vessel.

                                                             14          9.      Plaintiffs allege that on or about March 21, 2010, the Claggett Defendants

                                                             15   renewed a contract of marine insurance affording Plaintiffs protection and indemnity (P&I)
                                                                  coverage for the ISLAND DANCER. The insurance policy, Commercial Fishing Policy
                                                             16
                                                                  Number LS123608-00, was drafted by Sea-Mountain Insurance (the independent insurance
                                                             17
                                                                  agent of the Claggett Defendants) and was effective from March 21, 2010 to March 21, 2011.
                                                             18
                                                                         10.     The Underwriters subscribed to various percentages of the policy coverage as
                                                             19   follows: ST. PAUL 40% of the risk; GAIC 30% of the risk; and SUNDERLAND 30% of the
                                                             20   risk. The terms and conditions of Commercial Fishing Policy No. LS123608-00 effective from

                                                             21   March 21, 2010 to March 21, 2011, are set forth in Exhibit A attached hereto.
                                                                         11.     The policy of insurance was issued with the following “Lay-up Warranty”:
                                                             22
                                                                  “Warranted the insured vessel shall be laid-up during the period from o/a 9/15, to o/a 3/15 and
                                                             23

                                                                  COMPLAINT FOR DECLARATORY RELIEF AS TO INSURANCE    Page 3 of 8                                 /k
                                                                  POLICY COVERAGE
                                                                  ST. PAUL FIRE & MARINE, ET AL V. CLAGGETT, ET AL.
                                                                  CASE NO. 3:14-cv-_________ (____)

                                                                  31559
                                                                    Casepb070204
                                                                           5:14-cv-00001-SLG        Document 1 Filed 02/07/14 Page 3 of 8
                                                              1

                                                              2
                                                                  5/5 to 7/1, but with permission to move within the Port of lay-up for service and fueling.
                                                              3
                                                                  Permission is granted for occasional pleasure use during lay-up provided the vessel is attended
                                                              4
                                                                  at all times during hours of darkness while moored at any location having other than adequate
                                                              5
                                                                  mooring pier.”
                                                              6          12.       Thereafter, on or about June 9, 2010, the Claggett defendants specifically sought

                                                              7   to change the lay-up period, resulting in Endorsement Number Two to the policy which

                                                              8   provides, among other terms: “IT IS FURTHER WARRANTED THAT THE LAY-UP
                                                                  PERIOD IS AMENDED TO READ: O/A 9/1 to O/A 3/15 AND O/A 5/5 to o/A 6/25.”
                                                              9
                                                                         13.       On or about January 12, 2011, during the period of time that the vessel ISLAND
                                                             10
                                                                  DANCER was warranted to be in lay-up, Defendant BRETT L. CLAGGETT used the
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                                                             11
                                                                  ISLAND DANCER for a commercial sea cucumber harvesting. One of the divers, Charles O.
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                                                             12   Nelson, II, died during those sea cucumber diving operations. The Claggett Defendants had not
                                                             13   advised Underwriters that they intended to engage in a commercial operation, including diving,

                                                             14   during the warranted lay-up period from September 1 through March 15, nor did the Claggett

                                                             15   Defendants advise Underwriters after the incident that the vessel was used for harvesting sea
                                                                  cucumbers during the warranted lay-up period or even that a diver had died.
                                                             16
                                                                         14.       On or about September 20, 2013, the personal representative of decedent
                                                             17
                                                                  Charles O. Nelson, II (“decedent Nelson”) filed a Complaint seeking damages for the wrongful
                                                             18
                                                                  death of decedent Nelson in this Court in an action entitled Christie Brendible as P.R. of the
                                                             19   ESTATE OF CHARLES O. NELSON, II v. BRETT L. CLAGGETT and RENEE T. CLAGGETT,
                                                             20   District of Alaska Case No. 5:13-CV-0004-TMB (“the Underlying Lawsuit”). An Amended

                                                             21   Complaint was filed on December 3, 2013 alleging Charles O. Nelson I to be the personal
                                                                  representative of the ESTATE.
                                                             22

                                                             23

                                                                  COMPLAINT FOR DECLARATORY RELIEF AS TO INSURANCE     Page 4 of 8                                 /k
                                                                  POLICY COVERAGE
                                                                  ST. PAUL FIRE & MARINE, ET AL V. CLAGGETT, ET AL.
                                                                  CASE NO. 3:14-cv-_________ (____)

                                                                  31559
                                                                    Casepb070204
                                                                           5:14-cv-00001-SLG       Document 1 Filed 02/07/14 Page 4 of 8
                                                              1

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                                                                         15.     On or about October 14, 2013, the Claggett Defendants (through their insurance
                                                              3
                                                                  broker Sea-Mountain Insurance) submitted a Notice of Loss to Underwriters regarding the
                                                              4
                                                                  January 12, 2011 incident resulting in the death of decedent Nelson. This was the first notice
                                                              5
                                                                  of the January 12, 2011 incident provided to Underwriters.
                                                              6          16.     Also on or about October 14, 2013, the Claggett Defendants (through their

                                                              7   insurance broker Sea-Mountain Insurance) tendered their defense and indemnification in the

                                                              8   Underlying Lawsuit to Underwriters pursuant to the Protection & Indemnity (“P&I”) coverage
                                                                  section of Commercial Fishing Policy No. LS123608-00.
                                                              9
                                                                         17.     On November 7, 2013, Underwriters advised the Claggett Defendants that all or
                                                             10
                                                                  part of the claims alleged in the Underlying Lawsuit may not be covered due to the Insureds’
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                                                             11
                                                                  breach of the policy’s Lay-Up Warranty by engaging in commercial operations during the
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                                                             12   warranted lay-up period and/or the Insureds’ breach of the policy’s prompt notice of claim
                                                             13   condition. Underwriters agreed to provide the Claggett Defendants with a defense in the

                                                             14   Underlying Lawsuit subject to a full reservation of Underwriters’ rights under the policy and at

                                                             15   law, including the right to seek a court declaration regarding coverage.
                                                                                                     FIRST CLAIM FOR RELIEF
                                                             16
                                                                                               (Declaratory Relief As To Coverage)
                                                             17
                                                                         18.     Plaintiffs reallege and incorporate each and every allegation within Paragraphs
                                                             18
                                                                  3-17 of the General Allegations.
                                                             19          19.     Plaintiffs allege there is no coverage under the Protection & Indemnity (P&I)
                                                             20   coverage of Commercial Fishing Policy No. LS123608-00, because the Claggett Defendants

                                                             21   engaged in commercial diving and did so during the lay-up warranty period quoted above and
                                                                  as stated on the Declarations Page and Endorsement Number Two of the policy of insurance.
                                                             22

                                                             23

                                                                  COMPLAINT FOR DECLARATORY RELIEF AS TO INSURANCE    Page 5 of 8                                  /k
                                                                  POLICY COVERAGE
                                                                  ST. PAUL FIRE & MARINE, ET AL V. CLAGGETT, ET AL.
                                                                  CASE NO. 3:14-cv-_________ (____)

                                                                  31559
                                                                    Casepb070204
                                                                           5:14-cv-00001-SLG      Document 1 Filed 02/07/14 Page 5 of 8
                                                              1

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                                                                         20.     The Claggett Defendants breached the Lay-Up Warranty by using the vessel
                                                              3
                                                                  ISLAND DANCER for a commercial cucumber harvesting trip on January 12, 2011, which
                                                              4
                                                                  was during the warranted lay-up period.
                                                              5
                                                                         21.     Under General Maritime Law and Alaska law, an insured’s breach of an express
                                                              6   warranty in a policy of marine insurance nulls the policy and releases the underwriters from

                                                              7   liability for losses that occur during the period of the violation of the warranty, regardless of

                                                              8   whether the loss is causally related to the breach of warranty. Therefore, there is no coverage
                                                                  for the ISLAND DANCER or the Claggett Defendants for the subject death that occurred
                                                              9
                                                                  during the Insureds’ commercial operations on January 12, 2011 in breach of the lay-up
                                                             10
                                                                  warranty.
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                                                             11
                                                                         22.     In addition, Plaintiffs allege there is no coverage under the P&I coverage of
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                                                             12   Commercial Fishing Policy No. LS123608-00, because the Claggett Defendants breached the
                                                             13   policy’s prompt notice condition, which provides:

                                                             14

                                                             15                      “GENERAL CONDITIONS AND/OR LIMITATIONS
                                                                         Prompt notice of Claim
                                                             16
                                                                         Warranted that in the event of any occurrence which may
                                                             17
                                                                         result in loss, damage and/or expense for which this Assurer is or may become liable,
                                                             18
                                                                         the Assured will use due diligence to give prompt notice thereof and forward to the
                                                             19          Assurer as soon as practicable after receipt thereof, all communications, processes,
                                                             20          pleadings and other legal papers or documents relating to such occurrences.”

                                                             21   (Commercial Fishing Policy No. LS123608-00, P&I Form SP-23, Page 3.)
                                                                         23.     The Claggett Defendants breached the Prompt Notice of Claim condition of the
                                                             22
                                                                  policy’s P&I coverage by failing to advise Underwriters of the incident in which decedent
                                                             23

                                                                  COMPLAINT FOR DECLARATORY RELIEF AS TO INSURANCE      Page 6 of 8                                   /k
                                                                  POLICY COVERAGE
                                                                  ST. PAUL FIRE & MARINE, ET AL V. CLAGGETT, ET AL.
                                                                  CASE NO. 3:14-cv-_________ (____)

                                                                  31559
                                                                    Casepb070204
                                                                           5:14-cv-00001-SLG       Document 1 Filed 02/07/14 Page 6 of 8
                                                              1

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                                                                  Nelson died on January 12, 2011 until October 14, 2013 (more than 2 years and 9 months after
                                                              3
                                                                  the incident), despite the fact that Defendant BRETT L. CLAGGETT was on the vessel at the
                                                              4
                                                                  time of decedent Nelson’s death. The Claggett Defendants’ breach of the policy’s prompt
                                                              5
                                                                  notice condition has prejudiced Underwriters’ ability to investigate the incident and/or to
                                                              6   handle the claim.

                                                              7          24.     Due to the Claggett Defendants’ long delay in providing notice to Underwriters

                                                              8   of the January 12, 2011 incident, Underwriters have not had the ability or opportunity to fully
                                                                  investigate the facts and circumstances of the incident occurring on January 12, 2011, and
                                                              9
                                                                  additional facts may be discovered hereafter which would warrant Underwriters’ denial of
                                                             10
                                                                  coverage on different or additional grounds not stated herein. Underwriters reserve the right to
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                                                             11
                                                                  seek the Court’s declaration regarding coverage on any other ground(s) not raised herein based
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                                                             12   on facts or information that may be discovered hereafter. The circumstances relating to the
                                                             13   Claggett defendants’ representation as to lay-up of the vessel and their failure to disclose

                                                             14   commercial use of the vessel during lay-up for diving operations remain unknown to

                                                             15   Underwriters, who therefore reserve the right to seek the Court’s declaration and any other
                                                                  relief warranted in equity or at law related to any representation and/or nondisclosure.
                                                             16
                                                                         25.     Underwriters further specifically reserve the right to assert the defense of
                                                             17
                                                                  misrepresentation and/or nondisclosure in relation to the insureds engaging in diving
                                                             18
                                                                  operations, which was a material fact that was not disclosed the underwriters.
                                                             19          26.     In the event the Court finds that the claims asserted in the Underlying Lawsuit
                                                             20   are covered by the P&I coverage of Commercial Fishing Policy No. LS123608-00, then

                                                             21   Plaintiffs contend and seek a determination by the Court that Plaintiffs’ interpretation of the
                                                                  policy at issue is reasonable and that the dispute regarding construction of the policy and
                                                             22
                                                                  conduct in reliance on that interpretation is reasonable as a matter of law.
                                                             23

                                                                  COMPLAINT FOR DECLARATORY RELIEF AS TO INSURANCE     Page 7 of 8                                  /k
                                                                  POLICY COVERAGE
                                                                  ST. PAUL FIRE & MARINE, ET AL V. CLAGGETT, ET AL.
                                                                  CASE NO. 3:14-cv-_________ (____)

                                                                  31559
                                                                    Casepb070204
                                                                           5:14-cv-00001-SLG       Document 1 Filed 02/07/14 Page 7 of 8
                                                              1

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                                                                         27.     An actual controversy now exists between Plaintiffs, who contend that there is
                                                              3
                                                                  no coverage under the P&I coverage of Commercial Fishing Policy LS123608-00 for the
                                                              4
                                                                  claims alleged in the Underlying Lawsuit, and Defendants, who contend that they are entitled to
                                                              5
                                                                  a full defense and indemnification for any ultimate liability to plaintiff in the Underlying
                                                              6   Lawsuit. As an actual controversy now exists, Plaintiffs are entitled to declaratory relief as

                                                              7   alleged above and hereinafter requested.

                                                              8          WHEREFORE, for the First Claim for Relief, Plaintiffs pray that the Court render a
                                                                  declaratory judgment as follows:
                                                              9
                                                                         (A)     That there is no coverage under the Commercial Fishing Policy No. LS123608-
                                                             10
                                                                                 00 for the matters alleged in the Underlying Lawsuit;
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                                                             11
                                                                         (B)     That Plaintiffs be awarded costs of suit; and
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                                                             12          (C)     That the Court grant any further relief in law or in equity as may be proper.
                                                             13
                                                                         DATED this 7th day of February 2014 at Anchorage, Alaska.
                                                             14
                                                                                                                FARLEY & GRAVES, P. C.
                                                             15
                                                                                                                By:       s/LAURA L. FARLEY
                                                             16
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                                                                                                                      Attorneys for Plaintiffs
                                                             21

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                                                             23

                                                                  COMPLAINT FOR DECLARATORY RELIEF AS TO INSURANCE      Page 8 of 8                                /k
                                                                  POLICY COVERAGE
                                                                  ST. PAUL FIRE & MARINE, ET AL V. CLAGGETT, ET AL.
                                                                  CASE NO. 3:14-cv-_________ (____)

                                                                  31559
                                                                    Casepb070204
                                                                           5:14-cv-00001-SLG       Document 1 Filed 02/07/14 Page 8 of 8
